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 5
     Attorneys for
 6   Erick Vostok Bernal
 7                         UNITED STATES DISTRICT COURT
 8                     SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                CASE NO.: 21-CR-1817-TWR
11                     Plaintiff,             Hon. Todd W. Robinson
                                              Date: August 20, 2021
12         v.                                 Time: 1:30 p.m.
13   ERICK VOSTOK BERNAL,                     Notice of Motions and Motion to:
14                      Defendant.               1) Dismiss Count One of the
                                                    Superseding Indictment; and
15                                               2) For Leave to File Further Motions
16
17
                                    NOTICE OF MOTIONS
18
           The defendant, Erick Vostok Bernal, by and through counsel, Roxana
19
     Sandoval and Federal Defenders of San Diego, Inc., hereby moves this Court for
20
     an order Dismissing Count One of the Superseding Indictment and for Leave to File
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     Further Motions. He submits the following Points and Authorities in support of his
22
     motions.
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 1           POINTS AND AUTHORITIES IN SUPPORT OF MOTIONS
 2   I.    Statement of Facts
 3         According to the government, on May 30, 2021, at about 5:02 p.m., Mr.
 4   Bernal attempted to reenter the United States through the pedestrian primary lane
 5   at the San Ysidro port of Entry. Dkt. 1. Mr. Bernal approached the primary officer
 6   at the port of entry and gave him a piece of paper, which the primary officer
 7   described as containing a “poem.” Mr. Bernal did not present an identification card.
 8   The CBPO asked Mr. Bernal for his identifying information, and Mr. Bernal
 9   allegedly provided the name of Ruben Razo and a birthdate of September 24, 1984.
10   Thereafter, Mr. Bernal was referred to secondary inspection where he was arrested
11   for attempted illegal reentry after deportation.
12         The government also alleges that on June 1, 2021, at about 8:34 a.m., Mr.
13   Bernal assaulted a physician assistant during the intake process at the Metropolitan
14   Correctional Center. The government claims that Mr. Bernal used his head to strike
15   the physician assistant in the face.
16         Mr. Bernal is charged in a two-count superseding Indictment with attempted
17   illegal reentry after deportation and assault on a federal officer, in violation of 8
18   U.S.C. § 1326(a)(b) and 18 U.S.C. § 111(a)(b), respectively. On July 8, 2021, Mr.
19   Bernal was arraigned on the Superseding Indictment and he pleaded not guilty.
20   These motions follows.
21   II.   Motion to Dismiss Count One of the Superseding Indictment based on
           Arlington Heights
22
           A.     Introduction
23
24         In April 2020, the Supreme Court relied on historical evidence of a state
25   legislature’s racial motives to strike down a criminal law enacted a century earlier.
26   See Ramos v. Louisiana, 140 S. Ct. 1390 (2020). Although the law was later
27   reenacted with no evidence of animus, the Court refused to ignore the “racially
28   discriminatory reasons that [the state] adopted [its] peculiar rules in the first place.”
                                                 2
                                        MOTION TO DISMISS
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 1   Id. at 1401 (emphasis in original). Even the justices’ “shared respect for rational
 2   and civil discourse” could not “supply an excuse for leaving an uncomfortable past
 3   unexamined.” Id. at 1401 n.44.
 4         Like the law in Ramos, the law criminalizing illegal reentry into the United
 5   States at 8 U.S.C. § 1326 has an “uncomfortable past” that must be examined. Id.
 6   Enacted at the height of the eugenics movement, the “Undesirable Aliens Act of
 7   1929” was conceived, drafted, and enacted by white supremacists out of a belief
 8   that the “Mexican race” 1 would destroy the racial purity of the United States.
 9   Legislators referred to Mexicans as “mongrels” and “peons.” 2 They claimed
10   Mexicans were “poisoning the American citizen.”3 They sought to keep the
11   country’s blood “white and purely Caucasian.”4 They solicited reports and
12   testimony from a eugenicist who likened immigration policy to the “breed[ing] of
13   thoroughbred horses.” 5 Not only did this racism underlie the original version of §
14   1326, the law has disparately impacted Mexicans and other Latinx individuals in
15   the century since.
16         Because the facts and historical evidence presented here show that the
17   original illegal reentry law was enacted with a discriminatory purpose and still has
18   a disparate impact, § 1326 is presumptively unconstitutional under Village of
19   Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252
20
21
     1
       In the early 20th century, “Mexican” was conceptualized as a race rather than a
     nationality. For instance, the 1930 census listed “Mexican” as a “Color or Race.”
22   United      States     Census      Bureau, History:   1930,    https://www.census.
23   gov/history/www/through_the_decades/index_of_questions/1930_1.html.           And
     “[f]rom at least 1846 until as recently as 2001 courts throughout the United States
24   have utilized the term ‘Mexican race’ to describe Latinos.” Lupe S.
25   Salinas, Immigration and Language Rights: The Evolution of Private Racist
     Attitudes into American Public Law and Policy, 7 Nev. L.J. 895, 913 (2007).
26   2
       See infra at 8, 10, 11, 12, 13, 17.
27
     3
       See infra at 15, 17.
     4
       See infra at 13.
28   5
       See infra at 13–14.
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                                      MOTION TO DISMISS
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 1   (1977). The burden thus shifts to the government to show that Congress would have
 2   passed the 1929 law in the absence of any discriminatory purpose. If the
 3   government cannot make this showing, the law is invalid, and the Court must
 4   dismiss count one of the superseding information.
 5         At a minimum, if the Court believes Mr. Bernal has not shown a
 6   discriminatory purpose and a disparate impact, it should hold an evidentiary
 7   hearing. At this hearing, Mr. Bernal will present expert testimony as further
 8   evidence of the law’s discriminatory origins. The Court should also schedule an
 9   evidentiary hearing if the government submits evidence that the Court believes may
10   be sufficient to rebut Mr. Bernal’s evidence. But if the government does not attempt
11   to rebut his evidence, or cannot do so, the law is unconstitutional, and the Court
12   must dismiss count one of the Superseding Indictment.
13         B.     Legal framework
14         The Fifth Amendment of the Constitution provides that no person shall be
15   “deprived of life, liberty, or property, without due process of law.” U.S. Const.
16   amend. V. This clause contains an implicit guarantee of equal protection in federal
17   laws identical to what the Fourteenth Amendment guarantees in state laws. See
18   Sessions v. Morales-Santana, 137 S. Ct. 1678, 1686 n.1 (2017).
19         A law may violate equal protection in three ways. First, a law may
20   discriminate on its face. See, e.g., Loving v. Virginia, 388 U.S. 1 (1967). Second,
21   authorities may apply a facially neutral law in a discriminatory way. See, e.g., Yick
22   Wo v. Hopkins, 118 U.S. 356 (1886). Third, a legislature may enact a facially
23   neutral law with a discriminatory purpose, which disparately impacts a disfavored
24   group. See, e.g., Arlington Heights, 429 U.S. at 265–68.
25         Here, Mr. Bernal challenges § 1326 only under the third rationale, so the
26   legal framework of Arlington Heights applies. Arlington Heights clarified that the
27   effect of a racially discriminatory law does not alone make it unconstitutional—
28   challengers must also show “[p]roof of racially discriminatory intent or purpose”
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                                      MOTION TO DISMISS
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 1   at the time of the law’s passage. Id. at 265 (emphasis added). Determining whether
 2   a purpose was discriminatory requires “a sensitive inquiry into such circumstantial
 3   and direct evidence of intent as may be available.” Id. at 266. Arlington Heights
 4   gave a non-exhaustive list of relevant factors to consider in this determination,
 5   including:
 6         1)     the impact of the official action and whether it bears more heavily on
 7   one race than another;
 8         2)     the historical background of the decision;
 9         3)     the specific sequence of events leading to the challenged action;
10         4)     the [legislature’s] departures from normal procedures or substantive
11   conclusions; and
12         5)     the relevant legislative or administrative history.
13   Arce v. Douglas, 793 F.3d 968, 977 (9th Cir. 2015) (citing Arlington Heights, 429
14   U.S. at 266–68).
15         The threshold for satisfying these factors is low. Since legislatures are rarely
16   “motivated solely by a single concern,” a challenger need not show that the
17   legislature’s actions “rested solely on racially discriminatory purposes.” Arlington
18   Heights, 429 U.S. at 265–66. Instead, the challenger need only show “proof that a
19   discriminatory purpose has been a motivating factor in the decision.” Id. at 265–66
20   (emphasis added). See also Arce, 793 F.3d at 977 (quoting Arlington Heights to
21   hold that a challenger need not prove discrimination was the “sole purpose” of the
22   challenged action—only that it was a “‘motivating factor’”).
23         Once the challenger shows that discriminatory purpose was a “motivating
24   factor,” the burden shifts to the law’s defender to show that “the same decision
25   would have resulted even had the impermissible purpose not been considered.”
26   Arlington Heights, 429 U.S. at 270 n.21. See also Hunter v. Underwood, 471 U.S.
27   222, 228 (1985) (if racial discrimination was a motivating factor, “the burden shifts
28   to the law’s defenders to demonstrate that the law would have been enacted without
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                                      MOTION TO DISMISS
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 1   this factor.”). If the government cannot show that the legislature would have
 2   enacted the offending law in the “absence of the racially discriminatory
 3   motivation,” the law violates the Fifth Amendment and must be invalidated. Id. at
 4   225.
 5          Courts have applied Arlington Heights to a variety of laws and government
 6   actions. One of the first involved a provision in the Alabama constitution that barred
 7   voting for any person convicted of a “crime involving moral turpitude.” Hunter,
 8   471 U.S. at 222. Though neutral on its face, the provision disenfranchised ten times
 9   as many Blacks as whites. Id. at 227. To prove discriminatory intent in its passage,
10   challengers submitted transcripts of the 1901 Alabama constitutional convention
11   where lawmakers had originally enacted the provision, as well as several historical
12   studies and the testimony of two expert historians. See id. at 229. This evidence
13   showed that “zeal for white supremacy ran rampant” at the 1901 convention and
14   was a “motivating factor” underlying the voting provision. Id. at 229–31. And
15   because the provision “would not have been adopted by the convention or ratified
16   by the electorate in the absence of the racially discriminatory motivation,” the
17   Supreme Court held that it violated equal protection. Id. at 231.
18          Similarly, this Court applied Arlington Heights in a challenge to an Arizona
19   law shutting down a Mexican-American Studies program in the Tucson school
20   district. See Arce v. Douglas, 793 F.3d at 981. During the law’s passage, legislators
21   had accused the program of inciting “racial warfare” and supporting a group
22   purportedly claiming that “North America is a land for the bronze peoples.” Id. at
23   978. Finding that such comments created a genuine issue of material fact as to
24   whether the law was “motivated, at least in part, by an intent to discriminate against
25   [Mexican-American Studies] students,” the Court reversed the district court’s grant
26   of summary judgment and remanded for a full trial. Id. at 981.
27          These cases show that courts have used Arlington Heights for decades to
28   invalidate facially neutral laws enacted with a discriminatory intent that have
                                               6
                                      MOTION TO DISMISS
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 1   disparately impacted racial groups. 6 As Mr. Bernal will show, the same animus
 2   infected § 1326 to an equal (or even greater) degree.
 3          C.     Congress enacted illegal reentry with a discriminatory purpose.
 4          While not “purporting to be exhaustive,” the five Arlington Heights factors
 5   constitute the “proper inquiry in determining whether racially discriminatory intent
 6   existed.” Arlington Heights, 429 U.S. at 268. And as recent Supreme Court
 7   precedent confirms, courts must consider this historical evidence in determining the
 8   statute’s constitutionality.
 9                 1.     Under the Arlington Heights factors, racism and eugenics were
                          a “motivating factor” in the passage of illegal reentry laws.
10
11          A close examination of the political context underlying the criminalization
12   of illegal entry in 1929 reveals a disturbing truth: that racism and eugenics were not
13   only a “motivating factor” in the legislature’s passage of this law. Arlington
14   Heights, 429 U.S. at 265. They were the primary factor.
15                        a.     “The historical background of the decision.”
16          Historians often refer to the 1920s as the “Tribal Twenties”—a time when
17   “the Ku Klux Klan was reborn, Jim Crow came of age, and public intellectuals
18   preached the science of eugenics.” Exhibit A, Declaration of Dr. Kelly Lytle
19   Hernández, Professor of History at the University of California, Los Angeles, at 2.
20   World War I had produced “a feverish sentiment against presumably disloyal
21   ‘hyphenated Americans,’” and “few could resist the combination of nativism, job
22   scarcity, and anti-Bolshevism that fueled the politics of restriction.” 7 Prominent
23   restrictionists    “spoke      increasingly   of   ‘racial   indigestion,’” 8   and   “the
24
25
26
     6
       Courts apply strict scrutiny to the question of whether a law was “motivated by a
     racial purpose or object” under Arlington Heights. See Hunt v. Cromartie, 526 U.S.
27   541, 546 (1999) (quotations omitted).
     7
       Mae M. Ngai, Impossible Subjects, 19, 20 (2004 William Chafe, et al.).
28   8
       Id. at 23.
                                                   7
                                          MOTION TO DISMISS
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 1   ‘contamination’ of Anglo-American society.” 9
 2          The decade also brought a flood of immigration legislation fueled by fears of
 3   “non-white” immigration.10 Many politicians, especially those popularly known as
 4   “nativists,” hoped to “restrict and even end immigration to the United States from
 5   every region of the world other than western Europe.” Exh. A, Hernández
 6   declaration, at 2. At the start of the decade, Congress passed the first numerical
 7   restriction on immigration in the United States.11 During the remainder of the
 8   decade, legislators aimed for “‘America [to] cease to be the “melting pot.”’”12
 9   Although the arrival of southern and eastern Europeans in the early 1900s “fueled
10   the rise of American manufacturing,” nativists saw these groups as “‘undesirable
11   immigrants’” who were “socially inferior, culturally alien, and politically
12   suspect.” 13
13          These fears of non-white immigration were bolstered by the growing
14   acceptance of eugenics—a theory that “captured the imagination of many of
15   America’s leading intellectuals.”14 The popular magazine The Saturday Evening
16   Post ran articles warning that new immigrants were racially inferior, impossible to
17   assimilate, and a threat to stability and democracy. 15 The leader of a major scientific
18   institution contended that neither education nor environment could alter the
19   “‘profound and inborn racial differences’ that rendered certain people inferior.”16
20
21   9
       Kelly Lytle Hernández, Migra!: A History of the U.S. Border Patrol, 28 (2010).
22   10
        See generally Daniel Okrent, The Guarded Gate: Bigotry, Eugenics, and the Law
23   That Kept Two Generations of Jews, Italians, and Other European Immigrants Out
     of America (2019).
24   11
        Emergency Immigration Act of 1921, Pub.L. 67-5, 42 Stat. 5 (1921).
25
     12
         Jia Lynn Yang, One Mighty and Irresistible Tide: The Epic Struggle Over
     American Immigration, 2020, 3 (2020) (quoting Senator David A. Reed).
26   13
        Hernández, supra, at 28.
27
     14
        Yang, supra, at 35.
     15
        Id. at 8.
28   16
        Okrent, supra, at 3.
                                                8
                                       MOTION TO DISMISS
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 1   And states throughout the country were drafting laws “based on this burgeoning
 2   race science, including aggressive sterilization programs.” 17
 3         At the center of the eugenics movement was Dr. Harry H. Laughlin, the
 4   director of the Eugenics Record Office.18 Dr. Laughlin was well known for his
 5   model sterilization law that many states and countries, including the Third Reich of
 6   Nazi Germany, used as a template. 19 During the 1920s, Dr. Laughlin testified before
 7   Congress multiple times and produced four reports that discussed topics such as
 8   “race crossing,” “mate selection,” “fecundity,” “racial composition,” and the
 9   “individual quality of future population.” Exhibit B, The Eugenical Aspects of
10   Deportation: Hearings before the Committee on Immigration and Naturalization
11   House of Representative, 70th Cong. 70.1.4 , pp. 2, 3 (1928). Relying heavily on
12   these theories, Congress would anchor its immigration legislation in eugenics and
13   racial inferiority for the remainder of the decade. 20
14                       b.     “The specific sequence of events leading to the
                                challenged action.”
15
            In the early 1920s, Congress began to focus its legislation around the
16
     exclusion of “undesirable” immigrants—which was often code for non-white. See
17
     Ave. 6E Investments, LLC v. City of Yuma, Ariz., 818 F.3d 493, 505–06 (9th Cir.
18
     2016) (holding that “the use of ‘code words’ may demonstrate discriminatory
19
     intent”). The first such law was the National Origins Act of 1924, which established
20
     quotas based on the national origins of U.S. citizens as reflected in the 1920 census.
21
           The quotas created by the National Origins Act were skewed to keep the
22
23
24   17
        Id. at 38. Those sterilization laws were affirmed in the now infamous decision
25   Buck v. Bell, 274 U.S. 200, 207 (1927).
26
     18
        Ngai, supra, at 24.
     19
         Harry Laughlin and Eugenics, Truman State University. Accessible at
27   https://historyofeugenics.truman.edu/altering-lives/sterilization/model-law/.
28
     20
        See E.P. Hutchinson, Legislative History of American Immigration Law, 1798-
     1965, 212-13 (1981).
                                                9
                                       MOTION TO DISMISS
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 1   nation’s “racial strains” predominantly Anglo-Saxon.21 The law on its face did not
 2   count “nonwhite people residing in the United States” toward the quotas it
 3   established. Indeed, its newly-created “Quota Board” interpreted this provision to
 4   exclude all Black people; all East and South Asians (including those who had
 5   American citizenship by birth); and all citizens in Hawai‘i, Puerto Rico, and
 6   Alaska.22 Congress and the president accepted these exclusions under pressure to
 7   “stand firm against the efforts of ‘hyphenates’ who would ‘play politics with the
 8   nation’s blood stream.’” 23
 9         Yet there was a wrinkle in the National Origins Act—it did not set quotas on
10   immigrants from countries in the Western Hemisphere. This was due to the
11   influence of large agricultural businesses that relied heavily on labor from just over
12   the border.24 These agri-businesses pressured legislators from western states to vote
13   against the law, forcing nativists in Congress to “choose between accepting a
14   Mexican quota exemption or passing no immigration law at all.” Exh. A, Hernández
15   declaration, at 3. As one representative complained, there was no chance of capping
16   the number of Mexican immigrants because too many growers were “interested in
17   the importation of these poor peons.” Exhibit C, Representative Box (TX).
18   “Deportation of Aliens.” Congressional Record, (Feb. 16, 1929) p. H3619.
19         So despite passing the most sweeping immigration law in years, legislators
20   were not happy. Representative Madden grumbled that the bill “leaves open the
21   doors for perhaps the worst element that comes into the United States—the
22   Mexican peon.”25 Representative Patrick O’Sullivan criticized the restrictions on
23   Italian immigrants, stating that “the average Italian is as much superior to the
24
25   21
        Ngai, supra, at 24–25.
26   22
        Id. at 26.
27
     23
        Id. at 35.
     24
        See Hans P. Vought, The Bully Pulpit, 179 (2004)..
28   25
        Benjamin Gonzalez O’Brien, Chap. 1, Handcuffs and Chain Link (2018).
                                               10
                                      MOTION TO DISMISS
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 1   average Mexican as a full-blooded Airedale is to a mongrel.” Exhibit E,
 2   Representative O’Sullivan, “Administration of the Law.” Congressional Record
 3   65:6 (1924) p. H5900. Legislators “proposed bill after bill” restricting Mexican
 4   immigration but none could survive opposition from southwestern growers. Exh.
 5   A, Hernández declaration, at 5. To solve this problem, a group of key figures began
 6   to strategize a new type of immigration bill that would approach immigration from
 7   a criminal—rather than a civil—angle.
 8                       c.     “The relevant legislative or administrative history.”
 9         After passage of the National Origins Act of 1924, the Department of Labor
10   (which governed the Bureau of Immigration) began implementing Congress’s new
11   quota system. 26 Then-Secretary of Labor James Davis was a strong advocate of
12   Dr. Laughlin and his eugenics theories—even using them as the basis for policies
13   he had developed and published under the title “Selective Immigration or None.”27
14   Davis warned that the “rat type” was coming to the United States, and that these
15   “rat men” would jeopardize the American gene pool.28
16         Secretary Davis was nevertheless torn between his belief in eugenics and his
17   responsibility to maintain a large labor supply for the railroad and agriculture
18   industries.29 So together with devout racist (and suspected Ku Klux Klan member)
19   Senator Coleman Blease,30 Davis developed a compromise—Congress would
20   criminalize border crossing after the fact, rather than prevent it in the first place.31
21
22   26
        See Vought, supra, at 174–79.
     27
23      Id.
24
     28
        Id. at 174–75.
     29
        Id. at 216.
25   30
        For biographical and historical context about Senator Blease, see B. Simon, The
26   appeal of Cole Blease of South Carolina: Race, Class, and Sex in the New South,
     The Journal of Southern History, 62:1, pp. 57–86 (Feb. 1996), available at
27   http://www.jstor.com/stable/2211206.
     31
        Ian MacDougall,, Behind the Criminal Immigration Law: Eugenics and White
28   Supremacy,             ProPublica             (June           19,           2020),
     https://www.propublica.org/article/behind-the-criminal-immigration-law-
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                                       MOTION TO DISMISS
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 1   That way, they reasoned, authorities could expel Mexicans through a criminal
 2   prosecution after the growing season was over, thereby avoiding resistance from
 3   businesses that depended on Mexican labor.32 The southwest growers were in
 4   agreement—as one put it, “We, in California, would greatly prefer some set up in
 5   which our peak labor demands might be met and upon the completion of our harvest
 6   these laborers returned to their country.” Exh. A, Hernández declaration, at 7.
 7         Secretary Davis and Senator Blease found two eager collaborators in the
 8   House of Representatives, both of whom were on the powerful Immigration and
 9   Naturalization Committee. Representative John C. Box from Texas had long
10   characterized the goal of immigration law as “the protection of American racial
11   stock from further degradation or change through mongrelization.” Exhibit E,
12   Representative Box (TX). “Restriction of Mexican Immigration,” Congressional
13   Record, (Feb. 9, 1928) pp. H2817–18. In one speech at an immigration conference,
14   Rep. Box had explained that [t]he Mexican peon is a mixture of Mediterranean-
15   blooded Spanish peasant with low-grade Indians who did not fight to extinction but
16   submitted and multiplied as serfs. Into that was fused much negro slave
17   blood….The prevention of such mongrelization and the degradation it causes is one
18   of the purposes of our [immigration] laws. Id. Box believed this importation was
19   “raising a serious race question” because Mexicans were “essentially different from
20   us in character, in social position.” Exh. C at H3619.
21         Box was joined by the influential Chairman of the House Immigration and
22   Naturalization Committee, Representative Albert Johnson of Washington.
23   Chairman Johnson—for whom the 1924 “Johnson-Reed” National Origins Act was
24   named—was an “energetic and vehement racist and nativist.” 33 He headed the
25
26   eugenics-and-white-supremacy.
     32
27      Id.
28
     33
        Dennis Wepman, Immigration: From the Founding of Virginia to the Closing of
     Ellis Island, p. 242–43 (2002).
                                               12
                                      MOTION TO DISMISS
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 1   Eugenics Research Association, a group that opposed interracial marriage and
 2   supported forced sterilizations.34 He also proudly described his 1924 law as a
 3   “bulwark against ‘a stream of alien blood, with all its inherited misconceptions
 4   respecting the relationships of the governing power to the governed.” 35 Within two
 5   years of the 1924 Act, Chairman Johnson turned to legislation that would exclude
 6   the “Mexican race,” explaining that while the argument for immigration restriction
 7   had previously been economic, now “‘the fundamental reason for it is
 8   biological.’” 36
 9          Following the lead of these legislators, other lawmakers soon “turned to
10   narratives of racial threat to justify restriction.”37 In 1928, for instance,
11   Representative Robert A. Green of Florida delivered a radio speech (later read into
12   the congressional record by Representative Lankford) that advocated for Western
13   Hemisphere quotas. He asserted that countries south of the United States are
14   “composed of mixture blood of White, Indian, and negro.” Exhibit F,
15   Representative Lankford. “Across the Borders.” Congressional Record (Feb. 3,
16   1928) p. H2462. Immigration from these countries, he believed, created a “very
17   great penalty upon the society which assimilates,” and put it at a disadvantage to
18   countries that have “kept their blood white and purely Caucasian.” Exh. F, at
19   H2462.
20          Chairman Johnson soon convened hearings on new immigration legislation.
21   See Exhibit G, Hearings Before the Committee on Immigration and Naturalization,
22   69th Cong. 69.1.3 (1926). At the first hearing, Chairman Johnson admitted into the
23   record a letter from a constituent in El Paso who urged the legislators to keep out
24   “the scoff and scum, the mongrel, the bootlegger element, from Mexico.” Exh. G,
25
     34
26      Id.
27
     35
        Roger Daniels, Guarding the Golden Door, p. 55 (Hill and Wang, 2004).
     36
        Okrent, supra, at 3.
28   37
        Gonzalez O’Brien, supra, at Chap. 1 (Kindle edition).
                                              13
                                     MOTION TO DISMISS
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 1   at 30. In response to this letter, Commissioner General of Immigration Harry Hull,
 2   stated, “I think he is right.” Exh. G, at 30. Rep. Box added, “I have some letters,
 3   Mr. Chairman, just like that.” Exh. G, at 30
 4         The following month, the same House committee held a hearing on “The
 5   Eugenical Aspects of Deportation,” where the principal witness was the well-
 6   known eugenicist Dr. Laughlin. Exh. B, at 1. Early in the hearing, Chairman
 7   Johnson praised Dr. Laughlin’s prior reports to Congress on race crossing, mate
 8   selection, and fecundity, describing one as a “priceless” resource that would “bear
 9   intimately on immigration policy.” Exh. B, at 3.
10         Dr. Laughlin testified about his latest eugenics report, the goal of which was
11   to “protect American blood from alien contamination.” Exh. B, at 3. When
12   Dr. Laughlin encouraged the committee to conduct future research on the effect of
13   “race crossing within the United States,” Chairman Johnson replied that such a
14   study would “be of great use to the committee in its deliberations.” Exh. B, at 11.
15         Dr. Laughlin discussed the need for further research into “mate selection,”
16   because “whenever two races come in contact there is always race mixture” even
17   though the “upper levels tend to maintain themselves because of the purity of the
18   women of the upper classes.” Exh. B, at 19. The job of any government,
19   Dr. Laughlin explained, was to “demand fit mating and high fertility from the
20   classes who are better endowed physically, mentally, and morally by heredity.”
21   Exh. B, at 19. By deporting or excluding the “lower races” from the country, Dr.
22   Laughlin contended, “[i]mmigration control is the greatest instrument which the
23   Federal Government can use in promoting race conservation of the Nation.” Exh.
24   B, at 19.
25         In response, Chairman Johnson advocated for Congress’s use of the
26   “principle of applied eugenics” to “do everything possible” to reduce crime by
27   “debarring and deporting” more people. Exh. B, at 25. Rep. Box agreed, stating,
28   “we will have to control immigration to suit our own needs or we will lose our
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                                      MOTION TO DISMISS
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 1   national character,” which would “spell destruction for the future of America.” Exh.
 2   B, at 25.
 3            Dr. Laughlin even compared the drafters of deportation laws to “successful
 4   breeders of thoroughbred horses,” who would never consider “acquiring a mare or
 5   a stallion not of the top level” for their “stud farm.” Exh. B, at 44. One such
 6   successful breeder he knew “weeds out from the lower levels and recruits by
 7   purchase”—a process that is “analogous to immigration in man.” Exh. B, at 44–45.
 8   “Man is an animal,” Dr. Laughlin explained, “and so far as heredity and future
 9   generations are concerned, there is considerable real basis for [this] comparison.”
10   Exh. B, at 45.
11            When such racial engineering is not possible, Dr. Laughlin warned,
12   deportation of the “undesirable individual” becomes even more critical; otherwise,
13   “we cannot get rid of his blood no matter how inferior it may be, because we cannot
14   deport his offspring born here.” Exh. B, at 45. Dr. Laughlin predicted that so long
15   as the nation’s borders remained open to immigrants, “there will always be need
16   for deportation, or the ‘final selection.’” Exh. B, at 44. In response to this testimony,
17   Chairman Johnson agreed that “[i]mmigration looks more and more like a
18   biological problem, and if the work of this committee results in establishing this
19   principle in our immigration policy we will be well repaid for our efforts.” Exh. B,
20   at 46.
21            Though Chairman Johnson’s initial legislation failed, the compromise with
22   the agricultural industry brokered by Secretary Davis and Senator Blease soon
23   made a breakthrough. On January 18, 1929, Senator Blease, on behalf of the Senate
24   Committee on Immigration, submitted a report to the full Senate recommending
25   passage of a law that would penalize “aliens who have been expelled from the
26   United States and who reenter the country unlawfully.” Exhibit H, S. Rep. No.
27   1456, at 1 (1929). This report was accompanied by a letter from Secretary Davis on
28   behalf of the Department of Labor advocating for passage of the law. Exh. H, at 2.
                                                 15
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 1         The following week, Senator Blease presented this bill on the Senate floor,
 2   where he reported that Chairman Johnson had “asked me to get the measures over
 3   to the House [within two days] if I possibly could.” Exhibit I, Senator Blease (SC).
 4   Congressional Record (Jan. 23, 1929) p. S2092. The full Senate passed the bill with
 5   almost no discussion or debate. Exh. I, at S2092. Two weeks later, Chairman
 6   Johnson submitted a report from the Committee of Immigration and Naturalization
 7   to the full House recommending passage of the illegal reentry law. Exhibit J, S.
 8   Rep. No. 2397 (1929).
 9         During debate on the bill, Rep. Thomas L. Blanton complained that
10   Mexicans “come into Texas by hordes” and that “my friend Judge Box has been
11   making a just fight against this situation for years.” Exh. C, Cong. Rec. 1929. Rep.
12   Blanton urged the House to “apprehend the thousands of these Mexicans who are
13   in Texas now unlawfully and put them back across the Rio Grande and keep them
14   there.” Exh. C, Representative Blanton, “Deportation of Aliens.” Congressional
15   Record (1929) p. H3619. Rep. Schafer added that “[t]hese Mexicans also come into
16   Wisconsin in droves,” and Rep. Blanton challenged others to visit the international
17   ports of entry in Texas to see the “hordes that come across the bridges with no
18   intention of ever going back.” Exh. C, at H3619. Rep. Fitzgerald then added that
19   from a “moral standpoint,” Mexicans were “poisoning the American citizen”
20   because they are “of a class” that is “very undesirable.” Exh. C, Representative
21   FitzGerald, “Deportation of Aliens.” Congressional Record (1929) p. H3620.
22   Minutes later, the bill passed the House of Representatives. Exh. C, H3621. The
23   president signed it into law three days later. Exhibit L, 70th Cong., Sess. II, Chap.
24   690, Mar. 4, 1929.
25         This legislative history easily clears the low threshold of showing that racism
26   and eugenics were a “motivating factor” under the first three factors. Like other
27   Arlington Heights cases, passage of the racially-motivated law followed a
28   predictable pattern. A broad social movement founded on principles of white
                                               16
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 1   supremacy and eugenics gained popular support in the 1920s. Compare Hunter,
 2   471 U.S. at 229 (discussing “a movement that swept the post-Reconstruction South
 3   to disenfranchise blacks”). Dr. Laughlin, a notorious eugenics “expert,” promoted
 4   theories of racial inferiority through multiple reports and testimony to Congress.
 5   Compare Democratic National Committee, 948 F.3d at 1009 (local Republican
 6   chair widely shared a “racially tinged” video suggesting Hispanics were involved
 7   in ballot fraud). Key lawmakers like Chairman Johnson, Senator Blease, and
 8   Representative Box (along with Secretary of Labor Davis) promoted these theories
 9   and repeatedly endorsed them during legislative sessions. Compare id. (state
10   senator repeated “unfounded and often farfetched allegations” of ballot fraud);
11   Arce, 793 F.3d at 978–79 (legislators accused ethnic studies program of inciting
12   “racial warfare”). Other legislators expressed similar sentiments. See id. And even
13   Congressmen who might not have otherwise endorsed racially motivated legislation
14   were consistently advised of the “inferiority” of the “Mexican race” during
15   legislative sessions in the five years leading up to the law’s passage. Compare
16   Democratic National Committee, 948 F.3d at 1041 (invoking the “cat’s paw
17   doctrine). In other words, the evidence of racial discrimination in the legislative
18   history and events leading up to the passage of the 1929 law easily meets—if not
19   exceeds—the evidence in other Arlington Heights cases where race was found to
20   be a “motivating factor.”
21                      d.       “The legislature’s departures from normal procedures
                                 or substantive conclusions.”
22
23         Examining the fourth Arlington Heights factor—whether a decisionmaker
24   departs from “normal procedures or substantive conclusions”—requires courts to
25   consider any “procedural irregularities” leading up to the enactment of a law that
26   could signal a discriminatory intent. Pac. Shores Properties, LLC v. City of
27   Newport Beach, 730 F.3d 1142, 1164 (9th Cir. 2013). Courts may also consider
28   illogical or counter-intuitive conclusions in the decision-making process. See, e.g.,
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 1   Ave. 6E Investments, LLC v. City of Yuma, 818 F.3d 493, 507 (9th Cir. 2016) (citing
 2   the city’s decision to “disregard the zoning advice of its own experts”). Here, not
 3   only do the overtly racist statements of legislators during the law’s passage show
 4   its discriminatory purpose, several irregularities and illogical conclusions in the
 5   passage of the 1929 law also implicate this factor.
 6         First, the 1920s was the first and only era in which Congress openly relied
 7   on the now-discredited theory of eugenics to enact immigration legislation. Both
 8   the 1924 and 1929 immigration laws drew heavily on Dr. Laughlin’s debunked
 9   beliefs that immigration control was a matter of racial engineering, akin to horse
10   breeding. And while Congress ultimately acknowledged the discriminatory origins
11   of the National Origins Act of 1924 and repealed it in 1965, 38 illegal reentry remains
12   one of the few laws still in effect from that era.
13         Second, the racial vitriol expressed during the debates was directed almost
14   exclusively at Mexicans—even though Canadians were also entering the United
15   States in record numbers. See Exh. C, at H3621 (stating that 81,506 Canadians
16   entered the United States in 1928). If the 1929 Act were motivated by generalized
17   xenophobia or economic anxiety, rather than racism, one would expect legislators
18   to criticize foreigners across the board. But no legislator referred to Canadians as
19   “mongrels”; none complained of “hordes” of Canadians crossing the border; none
20   objected that Canadians were “poisoning the American citizen.” And a
21   representative from Wisconsin complained only about Mexicans taking jobs, not
22   Canadians. See Exh. C, at H3619. These irregularities show that not only was
23   Congress’s passage of the Undesirable Aliens Act based on eugenics and racism, it
24   also departed from typical substantive conclusions underlying immigration law.
25
26   38
       See Immigration and Nationality Act of 1965, Pub. L. 89–236 (abolishing the
27   National Origins Formula); Gabriel J. Chin, The Civil Rights Revolution Comes to
     Immigration Law: A New Look at the Immigration and Nationality Act of 1965, 75
28   N.C. L. Rev. 273, 301 (1996) (noting Congress’ “racial egalitarian motivation” for
     repealing the National Origins Act).
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 1                       e.    “The impact of the official action and whether it bears
                               more heavily on one race than another.”
 2
           Within a year of the 1929 law’s passage, the government had prosecuted
 3
     7,001 border crossing crimes; by 1939, that number rose to over 44,000. 39 In each
 4
     of these years, individuals from Mexico comprised no fewer than 84% of those
 5
     convicted, and often made up as many as 99% of defendants. 40 And the number of
 6
     prosecutions has soared—in the last three years, the number of § 1326 cases has
 7
     risen by nearly 40% to 22,077,41 making illegal reentry one of the most common
 8
     federal felonies today.
 9
           In sum, applying the five Arlington Heights factors shows that racism and
10
     eugenics were, at minimum, a “motivating factor” in the passage of the Undesirable
11
     Aliens Act. And as new Supreme Court precedent confirms, courts must consider
12
     this historical evidence in determining whether a statute is constitutional.
13
                  2.     New Supreme Court precedent confirms that discriminatory
14                       purpose is relevant to a law’s constitutionality.
15         Two recent Supreme Court cases confirm that a discriminatory purpose that
16   fueled a law’s original enactment remains relevant in determining its
17   constitutionality. In Ramos v. Louisiana, the Court struck down a state law
18   permitting convictions by non-unanimous juries, citing the “racially discriminatory
19   reasons that Louisiana and Oregon adopted their peculiar rules in the first place.”
20   140 S. Ct. at 1401 (emphasis in Ramos). Although Justice Alito argued in his dissent
21   that both states later recodified their non-unanimity rules with no mention of race,
22   the majority rejected the notion that this cured the laws’ original animus, holding
23
     39
24      Annual Report of the Attorney General of the United States for the Fiscal Year
     1939, 37; Kelly Lytle Hernández, City of Inmates: Conquest, Rebellion, and the Rise
25   of Human Caging in Los Angeles, 1771-1965, n.6 at 138–39 (UNC Press, 2017).
     40
         Hernández, supra n. 6, at 138–39 (citing U.S. Bureau of Prisons, Federal
26   Offenders, Fiscal Years, 1931–36.
27
     41
        See United States Sentencing Commission, Quick Facts: Illegal Reentry Offenses,
     Fiscal              Year               2019,              available             at:
28   https://www.ussc.gov/sites/default/files/pdf/research-and-publications/quick-
     facts/Illegal_Reentry_FY19.pdf.
                                               19
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 1   that if courts must “assess the functional benefits” of a law, they cannot “ignore the
 2   very functions those rules were adopted to serve.” Id. at 1401 n.44. Nor could the
 3   justices’ “shared respect for rational and civil discourse . . . supply an excuse for
 4   leaving an uncomfortable past unexamined.” Id. (citation and quotations omitted).
 5            Two months later, the Supreme Court struck down a Montana law
 6   prohibiting families from using state-sponsored scholarships at religious schools.
 7   See Espinoza v. Montana Dep't of Revenue, 140 S. Ct. 2246 (2020). The majority
 8   relied on the law’s “checkered tradition” of underlying religious discrimination,
 9   even though it was reenacted in the 1970s “for reasons unrelated to anti-Catholic
10   bigotry.” Id. at 2259.
11            Concurring, Justice Alito invoked his Ramos dissent, noting its argument that
12   courts cannot examine impermissible motives underlying the original version of a
13   law where states have “readopted their rules under different circumstances in later
14   years.” Id. at 2268 (quotations omitted). Justice Alito then stated, “But I lost, and
15   Ramos is now precedent.” Id. Justice Alito then provided an extensive history of
16   the anti-Catholic and anti-immigrant motives underlying Montana’s law,
17   concluding that “[u]nder Ramos, it emphatically does not matter whether Montana
18   readopted the no-aid provision for benign reasons. The provision’s ‘uncomfortable
19   past’ must still be ‘examined.’” Id. at 2273 (quoting Ramos, 140 S. Ct., at 1396,
20   n.44).
21            Here, the original illegal reentry law codified in the Undesirable Aliens Act
22   of 1929 has been reenacted several times, most notably in the Immigration and
23   Nationality Act of 1952.42 But Ramos and Espinoza both confirm that not only do
24
25   42
       See June 27, 1952, c. 477, Title II, ch. 8, § 276, 66 Stat. 229; Pub.L. 100-690,
26   Title VII, § 7345(a), Nov. 18, 1988, 102 Stat. 4471; Pub.L. 101-649, Title V, §
     543(b)(3), Nov. 29, 1990, 104 Stat. 5059; Pub.L. 103-322, Title XIII, § 130001(b),
27   Sept. 13, 1994, 108 Stat. 2023; Pub.L. 104-132, Title IV, §§ 401(c), 438(b), 441(a),
     Apr. 24, 1996, 110 Stat. 1267, 1276, 1279; Pub.L. 104-208, Div. C, Title III, §§
28   305(b), 308(d)(4)(J), (e)(1)(K), (14)(A), 324(a), (b), Sept. 30, 1996, 110 Stat. 3009-
     606, 3009-618 to 3009-620, 3009-629.
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 1   courts examine the racial motivations of a law at the time of its passage, later
 2   reenactments do not cleanse the law of its original taint.
 3         The government may also argue that even if racism and eugenics were a
 4   “motivating factor” in § 1326’s original passage, the law currently serves other
 5   legitimate purposes. But laws enacted with a discriminatory purpose cannot be
 6   “cured” merely because they later satisfy a non-discriminatory purpose. See
 7   Hunter, 471 U.S. at 233 (rejecting Alabama’s argument that “events occurring in
 8   the succeeding 80 years had legitimated” a racially motivated disenfranchisement
 9   provision). Rather, when a court determines that a law’s “original enactment was
10   motivated by a desire to discriminate . . . on account of race and the section
11   continues to this day to have that effect,” the court must conclude that the law
12   “violates equal protection under Arlington Heights.” Id.
13         D.     Section 1326 continues to disparately impact Mexican and other
                  Latinx defendants.
14
           Arlington Heights requires challengers to show that a law was enacted with
15
     a discriminatory purpose and disparately impacts a particular group. See 429 U.S.
16
     at 265. Here, not only were racism and eugenics a discriminatory purpose
17
     motivating the enactment of the first border crossing laws, such laws continue to
18
     disparately impact Mexican and other Latinx defendants.
19
           Though no publicly available statistics exist concerning the national origin
20
     of persons prosecuted for § 1326 today, the overwhelming number of Border Patrol
21
     arrests along the southern border are of Mexicans or people of Latinx origin. In
22
     2000, over 97% of persons apprehended at the border were Mexican. In 2005,
23
     Mexicans made up 86% of apprehensions, and in 2010, 87%.43 In the last decade,
24
25
26   43
       Border Patrol Total Apprehensions by Mexico and Other Than Mexico, 2000–
27   2019,             https://www.cbp.gov/sites/default/files/assets/documents/2020-
     Jan/U.S.%20Border%20Patrol%20Total%20Monthly%20Family%20Unit%20App
28   rehensions%20by%20Sector%20%28FY%202013%20-
     %20FY%202019%29_0.pdf.
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 1   Mexicans have made up a smaller percentage of arrestees due to increased
 2   migration from Central America, but combined, the two groups easily constitute
 3   the overwhelming majority of border crossers. 44 See The Committee Concerning
 4   Community Improvement v. City of Modesto, 583 F.3d 690, 704 (9th Cir. 2009)
 5   (recognizing a disparate impact on Latinx people where the neighborhoods were
 6   “trending” Latinx during the relevant period).
 7         Overall, these disparities are comparable to disparities that have supported
 8   other successful Arlington Heights challenges. See, e.g., Ave. 6E Investments, 818
 9   F.3d at 497 (concentrating most low-income housing in neighborhoods that are
10   75% Hispanic); Arce, 793 F.3d at 978 (targeting a program, 90% of whose enrollees
11   were of Mexican or other Hispanic origin); Community Improvement, 583 F.3d at
12   704 (excluding 71% Latino areas from benefits, while extending those benefits to
13   other areas that were only 48% Latino).
14         The executive branch continues to wield § 1326 as a tool of mass prosecution
15   that disproportionately affects Mexicans and Latin Americans. In April 2018, then-
16   Attorney General Jeff Sessions announced a “zero tolerance” policy targeting
17   illegal entry. 45 The following month, Sessions made clear at an address delivered
18   in San Diego that “the Department of Homeland Security is now referring 100
19   percent of illegal Southwest Border crossings to the Department of Justice for
20   prosecution. And the Department of Justice will take up those cases.” 46
21
     44
22     U.S. Border Patrol Nationwide Apprehensions by Citizenship and Sector, 2007 –
     2019,              https://www.cbp.gov/sites/default/files/assets/documents/2020-
23   Jan/U.S.%20Border%20Patrol%20Nationwide%20Apprehensions%20by%20Citiz
     enship%20and%20Sector%20%28FY2007%20-%20FY%202019%29_1.pdf.
24   45
        See “Attorney General Announces Zero-Tolerance Policy for Criminal Illegal
25   Entry,” U.S. Dept. of Justice, Apr. 6, 2018, available at:
     https://www.justice.gov/opa/pr/attorney-general-announces-zero-tolerance-policy-
26   criminal-illegal-entry.
27
     46
        “Attorney General Sessions Delivers Remarks Discussing the Immigration
     Enforcement Actions of the Trump Administration,” Dept. of Justice, May 7, 2018,
28   San Diego, California, https://www.justice.gov/opa/speech/attorney-general-
     sessions-delivers-remarks-discussing-immigration-enforcement-actions.
                                               22
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 1         Both Sessions and Stephen Miller, a senior policy advisor to President Trump
 2   and the architect of the zero-tolerance policy, 47 have drawn inspiration from the
 3   discriminatory immigration laws of the 1920s. In a series of leaked emails, Miller
 4   lauded the immigration policies of this era, suggesting to a journalist, “This would
 5   seem a good opportunity to remind people about the heritage established by Calvin
 6   Coolidge, which covers four decades of the 20th century”—i.e., the decades
 7   between the 1924 Act and its repeal in 1965. 48 Likewise, in a 2015 interview with
 8   Breitbart, Sessions expressed alarm at the rising percentage of “non-native born”
 9   Americans, noting that when immigration levels were “about this high in 1924,”
10   the President and Congress “changed the policy, and it slowed down immigration
11   significantly.” 49 He warned that repeal of those policies in 1965 had primed the
12   country for a “surge fast past what the situation was in 1924.” 50
13         This evidence demonstrates that § 1326 has disparately impacted Mexican
14   and Latinx immigrants and continues to do so today. Combined with Mr. Bernal’s
15   showing that racial discrimination was a “motivating factor” in its passage, he has
16   satisfied his initial burden under Arlington Heights to demonstrate that the law
17   violates equal protection.
18         E.     The burden of proof shifts to the government.
19         Because Mr. Bernal has shown both a discriminatory purpose and a disparate
20   impact underlying § 1326, the burden shifts to the government to show that the
21
22   47
         See, e.g., Julie Hirschfeld Davis & Michael D. Shear, How Trump Came to
     Enforce a Practice of Separating Migrant Families, N.Y. Times (June 16, 2018),
23   https://www.nytimes.com/2018/06/16/us/politics/family-separation-
     trump.html?login=smartlock&auth=login-smartlock.
24   48
        Katie Rogers & Jason DeParle, The White Nationalist Websites Cited by Stephen
25   Miller,            N.Y.          Times          (Nov.           18,         2019),
     https://www.nytimes.com/2019/11/18/us/politics/stephen-miller-white-
26   nationalism.html.
     49
        Adam Serwer, Jeff Sessions’ Unqualified Praise for a 1924 Immigration Law,
27   Atlantic (Jan 10, 2017), https://www.theatlantic.com/politics/archive/2017/01/jeff-
     sessions-1924-immigration/512591/.
28   50
        Id.
                                               23
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 1   Undesirable Aliens Act of 1929 would have passed “even had the impermissible
 2   purpose not been considered.” Arlington Heights, 429 U.S. at 266–68, 270 n.21.
 3   See also Hunter, 471 U.S. at 228 (shifting the burden to the law’s defenders to
 4   “demonstrate that the law would have been enacted without this factor”). The Court
 5   should thus provide the government an opportunity to make this showing; if it
 6   declines to do so, the Court should dismiss the count one of the Superseding
 7   Indictment.
 8         If, however, the government submits evidence showing that the 1929 law
 9   would have been enacted without a discriminatory purpose (or if the Court believes
10   that Mr. Bernal has not yet shown a disparate impact and discriminatory purpose),
11   the Court should schedule an evidentiary hearing. Courts frequently hold
12   evidentiary hearings and trials to hear evidence on the Arlington Heights factors.
13   See e.g., Hunter, 471 U.S. at 229 (relying on evidence at trial of state legislative
14   proceedings, “several historical studies, and the testimony of two expert
15   historians”); Democratic National Committee, 948 F.3d at 998 (referencing ten-day
16   bench trial); Arce, 793 F.3d at 991. Indeed, the Supreme Court has found error
17   where a lower court granted summary judgment “without an evidentiary hearing”
18   on a legislature’s disputed motives under Arlington Heights. Hunt, 526 U.S. at 545.
19         At this evidentiary hearing, Mr. Bernal will present testimony from expert
20   witnesses, including Dr. Kelly Lytle Hernández, Professor of History at the
21   University of California, Los Angeles, and Dr. Benjamin Gonzalez O’Brien,
22   Associate Professor of Political Science at San Diego State University. See Exhibit
23   M, Curriculum Vitae of Prof. Lytle Hernández; Exhibit N, Curriculum Vitae of
24   Prof. Gonzalez O’Brien. See Hunter, 471 U.S. at 228–29 (crediting the “testimony
25   and opinions of historians” to determine a legislature’s discriminatory intent under
26   Arlington Heights). Both experts have written extensively on the Undesirable
27   Aliens Act of 1929 and can testify about the historical events surrounding its
28   passage. At the end of this hearing, if the government has not carried its burden to
                                              24
                                      MOTION TO DISMISS
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 1   show that the crime of illegal reentry would have been enacted without a racially
 2   discriminatory motive, § 1326 is unconstitutional, and the Court must dismiss count
 3   one of the Superseding Indictment.
 4   III.   Motion for Leave to File Further Motions
 5          Mr. Bernal moves for leave to file additional motions. To date, Mr. Bernal
 6   has not received all of the discovery that he has requested from the government.
 7   The parties also need to conduct an evidence viewing. Therefore, Mr. Bernal
 8   requests leave to file further motions.
 9
10                                         Respectfully submitted,
11
12    Dated: August 6, 2021                s/ Roxana Sandoval
                                           Federal Defenders of San Diego, Inc.
13                                         Attorneys for Erick Vostok Bernal
                                           Email: Roxana_Sandoval@fd.org
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